Case 23-40709   Doc 70-5 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                       E - BBAS Resignation Page 1 of 2




                           Exhibit E
           Case 23-40709             Doc 70-5 Filed 01/16/24 Entered 01/16/24 13:03:39                      Desc Exhibit
                                            E - BBAS Resignation Page 2 of 2


              BABCOCK&BROWN
               Babcock & Brown LP
               One Letterman Drive • Bldg D • San Francisco CA 94129 USA
               T +1 415 512 1515 F +1 415 267 1500. www.babcockbrown.com
                                                                                                                     se
                                                       NOTICE OF RESIGNATION

              April 30, 2011


              Westborough SPE LLC
              c/o Equity Trust
              31/F, The Center
              99 Queen's Road Central, Hong Kong

              Attention: Serena Kwok, General Manager, Trade Support


              RE: Westborough SPE LLC (the "Company")


              Dear Ms. Kwok:

              We refer to the Company's Limited Liability Company Agreement dated as of October 22,
              1997 (the "LLC Agreement") between Mignonette Investments Limited (the "Member")
              and Babcock & Brown Administrative Services LLC, as successor to Babcock & Brown
              Administrative Services, Inc. (the "Manager").

              Pursuant to Section 1(e) of the LLC Agreement and Section 18-602 of the Delaware
              Limited Liability Company Act, this letter serves as notice to the Member of the Manager's
              intent to resign as Manager of the Company effective as of May 30, 2011.



                                                                           Sincerely,

                                                                           Babcock & Brown Administrative
                                                                           Se   e- LLC




                                                                           By: alter Horst
                                                                           Title: Treasurer




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